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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ATTESTOR MASTER VALUE FUND LP,

                   Plaintiff,
                                               No. 14-CV-05849 (LAP)
-against-
                                                             ORDER
THE REPUBLIC OF ARGENTINA,

                   Defendants.

TRINITY INVESTMENT LIMITED,
                                       No. 14-CV-10016 (LAP); 15-CV-1588
                   Plaintiff,         (LAP); 15-CV-2611 (LAP); 15-CV-5886
                                      (LAP); 15-CV-9982 (LAP); 16-CV-1436
-against-                                            (LAP)
THE REPUBLIC OF ARGENTINA,                                   ORDER
                   Defendants.

BYBROOK CAPITAL MASTER FUND LP,
and BYBROOK CAPITAL HAZELTON
MASTER FUND LP,
                                        No. 15-CV-2369 (LAP); 15-CV-7367
                   Plaintiff,         (LAP); 16-CV-1192 (LAP); 21-CV-2060
                                                      (LAP)
-against-
                                                             ORDER
THE REPUBLIC OF ARGENTINA,

                   Defendants.

WHITE HAWTHORNE, LLC,

                   Plaintiff,           No. 15-CV-4767 (LAP); 15-CV-9601
                                                      (LAP)
-against-
                                                             ORDER
THE REPUBLIC OF ARGENTINA,

                   Defendants.
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    WHITE HAWTHORNE, LLC and WHITE
    HAWTHORNE II, LLC,

                        Plaintiff,               No. 16-CV-1042 (LAP)

    -against-                                              ORDER

    THE REPUBLIC OF ARGENTINA,

                        Defendants.

    BISON BEE LLC,

                        Plaintiff,
                                                 No. 18-CV-3446 (LAP)
    -against-
                                                           ORDER
    THE REPUBLIC OF ARGENTINA,

                        Defendants.

    BAINBRIDGE FUND LTD.,

                        Plaintiff,
                                                No. 16-CV-08605 (LAP)
    -against-
                                                           ORDER
    THE REPUBLIC OF ARGENTINA,

                        Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

        After    receiving   Plaintiffs’      letter   and   stipulation          and

proposed order, which included two disputed paragraphs, (dkt. nos.

171-72), the Court entered an order on February 28, 2025, (dkt.

no. 173 (“February 28, 2025 Order”)). 1                Thereafter, the Court

received        (1)   Plaintiffs’    letter    informing     the     Court       that



1
 References to the docket refer to Attestor Master Value Fund LP
v. Republic of Argentina, No. 14-CV-05849.


                                        2
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Bainbridge’s counsel was inadvertently not copied on Plaintiffs’

filing, (dkt. no. 171), and therefore Bainbridge did not have an

opportunity to provide the Court with its position on the disputed

paragraphs, (dkt. no. 174); and (2) Bainbridge’s letter stating

the same, (dkt. no. 179).            The parties suggest that the Court

vacate   the   February    28,     2025   Order    and   allow     Bainbridge    an

opportunity to be heard.

     Rule 60(b)(1) of the Federal Rules of Civil Procedure states

that a “court may relieve a party or its legal representative from

a   final   judgment,     order,    or    preceding      for   .   .   .   mistake

inadvertence, surprise, or excusable neglect.”                 Fed. R. Civ. P.

60(b)(1). “The decision whether to grant a Rule 60(b) motion rests

within the district court’s sound discretion.” Taylor v. Zampella,

No. 23-CV-8409 (LJL), 2024 WL 1834028, at *2 (S.D.N.Y. Apr. 26,

2024) (internal quotations and citations omitted).                     Given that

Bainbridge inadvertently did not have an opportunity to weigh in

on Plaintiffs’ proposed order, the Court vacates its February 28,

2025 Order.     The parties shall confer and inform the Court, by

letter, by March 5, 2025, how the parties wish to proceed with

respect to the one outstanding disputed paragraph.

SO ORDERED.
Dated:    March 3, 2025
          New York, New York

                              __________________________________
                              LORETTA A. PRESKA
                              Senior United States District Judge


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